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                             IN THE UNITED STATES DISTRICT COURT
12                           FOR THE NORTHERN MARIANA ISLANDS

13
      ÖZCAN GENÇ, HASAN GÖKÇE, and                   Civil Case No. 1:22-cv-00002
14    SÜLEYMAN KÖŞ, on behalf of themselves
      and all other persons similarly situated,
15                                                   DEFENDANT IMPERIAL PACIFIC
                            Plaintiffs,              INTERNATIONAL (CNMI), LLC’S
16                                                   MOTION TO DISMISS THE FIRST
                     vs.                             AMENDED COMPLAINT WITH
17                                                   PREJUDICE
      IMPERIAL PACIFIC INTERNATIONAL
18    (CNMI), LLC, and IMPERIAL PACIFIC
      INTERNATIONAL HOLDINGS LTD.
19
                            Defendants.
20

21     DEFENDANT IMPERIAL PACIFIC INTERNATIONAL (CNMI), LLC’S MOTION TO
             DISMISS THE FIRST AMENDED COMPLAINT WITH PREJUDICE
22

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 1           Defendant Imperial Pacific International (CNMI), LLC (“IPI”) moves pursuant to Rule

 2   12(b)(6) of the Federal Rules of Civil Procedure to dismiss with prejudice and in its entirety

 3   Plaintiffs’ First Amended Complaint and Jury Demand (ECF No. 20) because Plaintiffs fail to state

 4   a plausible claim to relief.

 5   Dated: August 10, 2022                           Respectfully Submitted,

 6
                                                      /s/ Amina Hassan
 7
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14    SÜLEYMAN KÖŞ, on behalf of themselves
      and all other persons similarly situated,
15                                                   DEFENDANT IMPERIAL PACIFIC
                            Plaintiffs,              INTERNATIONAL (CNMI), LLC’S
16                                                   MEMORANDUM OF LAW IN SUPPORT
                     vs.                             OF ITS MOTION TO DISMISS THE
17                                                   FIRST AMENDED COMPLAINT WITH
      IMPERIAL PACIFIC INTERNATIONAL                 PREJUDICE
18    (CNMI), LLC, and IMPERIAL PACIFIC
      INTERNATIONAL HOLDINGS LTD.
19
                            Defendants.
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 1                                              Introduction

 2          Plaintiffs Özcan Genç, Hasan Gökçe and Süleyman Köş (collectively, “Plaintiffs”) are

 3   former IPI employees who worked on construction of the Imperial Palace Casino and Hotel

 4   Resort in Garapan, Saipan in the Commonwealth of the Northern Mariana Islands. (Am. Compl.

 5   ¶¶ 4-7.)1 Plaintiffs allege, pursuant to Title VII of the Civil Rights Act of 1964, that IPI

 6   “engaged in a company-wide practice of employment discrimination, both intentional and

 7   systemic, on the basis of national origin, against [them] and a class of similarly situated Turkish

 8   employees” by paying them a lower wage rate than it paid to its Taiwanese and Italian workers.

 9   (Id. ¶¶ 1, 19.) Plaintiffs’ Amended Complaint, like their Original Complaint, lacks the factual

10   allegations to support this claim.

11          Yet again, Plaintiffs offer the Court no factual basis for their conclusory allegations that

12   Taiwanese and (this time) Italian workers at IPI, whom Plaintiffs allege were paid more than

13   them, were “similarly situated” to Plaintiffs and other Turkish class members. Plaintiffs’

14   response to the Court’s dismissal of the Original Complaint appears to have been to add more

15   conclusory allegations to the Amended Complaint. More conclusory allegations, however, do

16   not make for a well-pleaded complaint, even for a pattern-and-practice claim.

17          Plaintiffs add ten new paragraphs in their Amended Complaint. (Id. ¶¶ 20-29.) None of

18   those contains a single non-conclusory, factual allegation demonstrating that the Taiwanese and

19   Italian workers, who allegedly were paid more, were doing the “same work” as any of the

20   Plaintiffs or other purported class member. For example, Paragraph 21 alleges only that, “Kedir

21   Celebi also saw that other workers worked fewer hours but brought home more money.” There

22

23   1. Where this motion relies on allegations in the Amended Complaint, those are accepted as
        true only for purposes of this motion.
24
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 1   can be no straight-faced argument that this allegation provides the Court any factual basis to

 2   infer that a Taiwanese or Italian worker was “similarly situated” to Mr. Celebi and was paid

 3   moreit does not even mention Taiwanese or Italian workers. At best, some of Plaintiffs’

 4   newly added paragraphs allege that certain Turkish workers at IPI “observed” or “saw” that

 5   “Taiwanese and Italian workers doing the same work as he were paid substantially more.” (Id. ¶

 6   23; see also id. ¶¶ 20, 22, 24, 26.) However, a purported class member’s “observations” reciting

 7   the elements of a disparate treatment claim are insufficient. Not a single one of Plaintiffs’

 8   newor oldallegations identifies the role, title, seniority or performance of any particular

 9   Taiwanese or Italian worker on the constructions project. As the Court noted at oral argument on
10   IPI’s successful motion to dismiss the Original Complaint, without “particularized” facts, the
11   Court cannot reasonably infer that Plaintiffs are comparing “apples and apples as opposed to
12   apples and oranges.” (ECF 23 at 14:9-13.) Here, Plaintiffs tell the Court that they are comparing
13   “apples and apples,” but provide no factual basis for the Court to reasonably infer that
14   conclusion.
15          Without any instances of discrimination against a plausibly pleaded comparator,
16   Plaintiffs cannot sustain their pattern-and-practice claim. As a sister Court in this Circuit
17   observed in a case where plaintiff, as here, failed to offer any basis for inferring that the alleged
18   comparators were similarly situated to him: “Discovery is costly, time-consuming, and invasive,
19   and before a plaintiff can compel a defendant to open its books and sit for depositions, it must
20   justify this imposition by stating a plausible claim for relief.”2 Given a second chance at
21

22
     2. Colon v. Bank of Am., N.A., No. CV-16-00037-PHX-SPL, 2017 WL 11610299, at *2 (D.
23      Ariz. Mar. 8, 2017) (quoting Khalili v. Comerica Bank, 2011 WL 2445870 (N.D. Cal.
        June 16, 2011)).
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 1   reframing their pleading, Plaintiffs fail to do so here. Accordingly, the Court should dismiss the

 2   Amended Complaint.

 3          Moreover, despite IPI’s detailed briefing laying forth the deficiencies in Plaintiffs’

 4   Original Complaint; the Court specifically outlining how that pleading was deficient on the

 5   similarly situated comparators; and the Court affording Plaintiffs more than two months to

 6   amendincluding an extension to which IPI agreedPlaintiffs failed to cure the principal flaw

 7   in their pleading: alleging plausible comparators using non-conclusory assertions. Accordingly,

 8   dismissal with prejudice is warranted.

 9                                                Argument

10   I.     THE COURT SHOULD DISMISS PLAINTIFFS’ AMENDED COMPLAINT FOR
            FAILURE TO STATE A PLAUSIBLE CLAIM FOR RELIEF.
11
            To survive a motion to dismiss under Rule 12(b)(6), the Amended Complaint must “state
12
     a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
13
     (2007). The Amended Complaint must allege facts that are sufficient to push Plaintiffs’ claims
14
     “across the line from conceivable to plausible,” id., and raise “[P]laintiff[s]’ right to relief above
15
     the speculative level.” Wang v. Am. Sai Green Corp., No. 1:13-cv-00026, 2014 WL 1365740, at
16
     *1 (D. N. Mar. I. Apr. 4, 2014) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),
17
     Twombly, 550 U.S. at 555–56) (internal quotation marks omitted). As this Court has explained,
18
     in addition to giving a defendant “fair notice” of plaintiffs’ claim, the factual allegations in the
19
     complaint “also ‘must plausibly suggest an entitlement to relief, such that it is not unfair to
20
     require the opposing party to be subjected to the expense of discovery and continued litigation.’”
21
     Wang, 2014 WL 1365740, at *1 (quoting Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011)).
22
            “While legal conclusions can provide the framework of a complaint, they must be
23
     supported by factual allegations.” Iqbal, at 679. The Court also is not required to accept as true
24
                                                       3
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 1   conclusory statements unsupported by factual allegations. Id. at 663, 678-79. “Threadbare

 2   recitals of the elements of a cause of action, supported by mere conclusory statements, do not

 3   suffice” on a motion to dismiss. Id. at 678. Accordingly, in assessing the plausibility of a claim,

 4   the Court must set aside conclusory allegations—because Rule 8 “does not unlock the doors of

 5   discovery for a plaintiff armed with nothing more than conclusions”—and “consider the factual

 6   allegations in respondent’s complaint to determine if they plausibly suggest an entitlement to

 7   relief.” See id. at 677-81. “Where the well-pleaded facts do not permit the court to infer more

 8   than the mere possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—

 9   ‘that the pleader is entitled to relief’,” and the Complaint must fail. Id. at 679 (citing Fed. R.

10   Civ. P. 8(a)(2)).

11           Yet again, Plaintiffs’ pleading falls short of these pleading requirements. Riddled with

12   conclusory statements, the Amended Complaint lacks facts that support a reasonable and non-

13   speculative inference that Plaintiffs and IPI’s other Turkish workers were paid less than IPI’s

14   Italian and Taiwanese workers because of their national origin and pursuant to a policy of

15   disparate treatment.

16             A. Plaintiffs Do Not Allege Facts Supporting the Inference that the Taiwanese
               and Italian Employees Referenced in the Amended Complaint Were “Similarly
17             Situated” to Plaintiffs or Purported Class Members.

18           Pattern-and-practice claims “must be based on discriminatory conduct that is widespread

19   throughout a company or that is a routine and regular part of the workplace.” Cherosky v.

20   Henderson, 330 F.3d 1243, 1247 (9th Cir. 2003) (citing Int’l Bhd. of Teamsters v. United States,

21   431 U.S. 324, 336 (1977)). They “cannot be based on ‘sporadic discriminatory acts’.” Id.

22   (quoting Teamsters, 431 U.S. at 336). Plaintiffs rest their pattern-and-practice discrimination

23   claim on their assertion that IPI paid its Italian and Taiwanese workers more than it paid

24   Plaintiffs and other Turkish workers who are members of the purported class. (Am. Comp. ¶¶ 1,
                                                       4
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 1   19.) To show discrimination by comparison to persons outside the class, Plaintiffs must

 2   “demonstrate that [they were] similar to [their] proposed comparator[s] ‘in all material

 3   respects.’” Sheets v. City of Winslow, 859 F. App’x. 161, 162 (9th Cir. 2021) (quoting Moran v.

 4   Selig, 447 F.3d 748, 755 (9th Cir. 2006)). “[I]ndividuals are similarly situated when they have

 5   similar jobs and display similar conduct.” Vasquez v. Cnty. of L.A., 349 F.3d 634, 641 (9th Cir.

 6   2003).

 7            Like the Original Complaint, the Amended Complaint contains no factual allegations

 8   from which the Court can infer that the “Italian and Taiwanese workers” generally referenced in

 9   the Amended Complaint were similarly situated to Plaintiffs or other purported Turkish class

10   members in terms of their jobs.

11            As Plaintiffs themselves demonstrate, IPI workers at the hotel-casino site had different

12   roles and titles. Plaintiffs identify themselves and other purported class members in the

13   complaint as a “plumber,” “electrician,” “mechanical fitter,” “mechanical installer,” “ceramic

14   and leveling screed master,” “worker,” “supervisor,” “foreman,” or “leader,” although they

15   identify the alleged Taiwanese and Italian comparators only as “workers”. (Am. Compl. ¶¶ 5, 6,

16   7, 20, 22-28).3 Plaintiffs also demonstrate in the Amended Complaint that different roles at IPI

17   earned different salaries. For example, Plaintiff Süleyman earned $17,368 per year as an

18   electrician and $21,840 per year as an electrical foreman (id. ¶ 7), while another Turkish worker,

19

20   3. Paragraph 28 refers to “Italian and Taiwanese construction workers and supervisors,” stating
        that they were assigned to different floors than those on which “F. Mert Oztuna and Senol
21      Barut were supervisors of Turkish workers.” (Am. Compl. ¶ 28.) However, when alleging
        who it was that IPI allegedly was treating better than the Turkish workers, that paragraph also
22      refers generically to the “Italian and Taiwanese workers” only, and acknowledges there were
        “exceptions” to the alleged discrimination. (See id. (“When the Turks got their first
23      paycheck, they observed that almost without exception the Italian and Taiwanese workers
        were paid more than the Turks”).)
24
                                                       5
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 1   Ahmet Kucukhurman, also an “electrician,” earned $8 an hour, annualized to $16,640. (Id. ¶

 2   24.)4

 3           These differences matter. Job-related differences between employees of Taiwanese and

 4   Italian national origin, on the one hand, and Turkish national origin, on the other, plausibly

 5   explain the alleged disparate treatment. See, e.g., Bastidas v. Good Samaritan Hosp. LP, 774 F.

 6   App’x 361, 363-64 (9th Cir. 2019) (affirming dismissal of Title VII action because plaintiff, a

 7   Hispanic physician, “did not show that the[] [two white physicians] were similarly situated to

 8   him … given the different types of surgeries” at the hospital); Vasquez, 349 F.3d at 641

 9   (“Employees in supervisory positions are generally deemed not to be similarly situated to lower

10   level employees.”). As a result, courts require plaintiffs to allege the factual basis supporting

11   their assertions that the alleged comparators are similarly situated. See, e.g., Demekpe v. Cnty. of

12   L.A., No. CV 15-6007-DDP (KES), 2015 WL 13237302, at *8 (C.D. Cal. Dec. 8, 2015), report

13   and recommendation adopted, No. CV 15-6007-DDP (KES), 2016 WL 8738111 (C.D. Cal. July

14   8, 2016) (dismissing plaintiff’s Title VII claim because he alleged no facts showing that he was

15   “‘similarly situated’ to [the Hispanic] officers” he alleged were his comparators); Simons v.

16   Costco Wholesale Corp., No. 3:18-cv-00755-SB, 2018 WL 7078666, at *3 (D. Or. Dec. 6, 2018),

17   report and recommendation adopted, No. 3:18-cv-00755-SB, 2019 WL 267706 (D. Or. Jan. 18,

18   2019) (dismissing race discrimination claim because plaintiff failed to “allege facts that plausibly

19   suggest his Caucasian co-workers were similarly situated”).

20           Here, the Amended Complaint includes no factual allegations describing the jobs, titles,

21

22   4. The annualized amount is based on Mr. Kucukhurman’s wage rate of $8 (Am. Compl. ¶ 24)
        and a total of 2,080 hours worked per year, derived from Plaintiffs’ wage rates and
23      annualized wages included in the Amended Complaint and their EEOC Charges (see id. ¶¶ 5-
        7 & Exhibits 1A, 2A and 3A.)
24
                                                       6
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 1   seniority, qualifications or performance levels of any of the Italian and Taiwanese workers who

 2   Plaintiffs allege IPI paid more than them.5

 3                  1.      The New Allegations

 4          Apparently trying to address the pleading flaws in their Original Complaint, Plaintiffs

 5   include ten new paragraphs in their Amended Complaint. Half of those paragraphs contain no

 6   allegations regarding the “similarly situated” requirement. (Am. Compl. ¶¶ 21, 25, 27-29.) They

 7   containat bestallegations that IPI paid its Italian and Taiwanese workers more than certain

 8   Turkish workers.6 Even assuming these allegations are sufficient to allege a pay differential,

 9   they cannot substitute for well-pleaded allegations of similarly situated comparators. See

10   Nguyen v. Boeing Co., No. C15-793RAJ, 2016 WL 7375276, *3 (W.D. Wash. Dec. 20, 2016)

11   (offering “facts” that two other employees were either paid more than, or promoted over,

12   plaintiff could not cure plaintiff’s “fail[ure] to show that these employees were similarly situated

13   in the same job as [him], or engaged in similar conduct as [him].”).7

14

15   5. The only factual similarity Plaintiffs allege between themselves and other putative class
        members, on the one hand, and the workers of Taiwanese and Italian origin, on the other, is
16      that IPI employed all of them under the H-2B visa program. (See Am. Compl. ¶ 16.)
        However, there is nothing in the law or in any further factual assertions in the Amended
17      Complaint that would make this a relevant factor in assessing the similarly situated
        requirement.
18
     6. See, e.g., Am. Compl. ¶ 27 (Plaintiff Köş, who “became friends with some of the Taiwanese
19      and Italian workers,” “saw the paychecks the Taiwanese received” and “observed” that they
        were earning more); ¶ 25 (a worker, Ender Karagoz, “saw that Italians received higher wages
20      than Turks”); ¶ 29 (workers F. Mert Oztuna and Senol Barut “socialized with some of the
        Italian and Taiwanese workers and learned that their hourly wage was higher than that of the
21      Turkish team.”).

22   7. Plaintiffs allege repeatedly that the Taiwanese and Italian workers generally worked “less,”
        or fewer hours, than Turkish workers, but earned more money. (See, e.g., Am. Compl. ¶¶ 20,
23      25, 28.) These allegations also speak to whether some Taiwanese and Italian workers had a
        higher wage rate, not whether they were similarly situated to Plaintiffs or purported class
24      members.
                                                      7
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 1          The remaining new paragraphs contain only vague and conclusory assertions of

 2   similarityif that. (Am. Compl. ¶¶ 20, 22-24, 26.) Paragraph 20 alleges that, “[o]ne of the

 3   Turkish workers, Imdat Dogaan, was a mechanical fitter. He personally saw the paychecks of

 4   Italian workers doing similar work as he;” Paragraph 23 alleges that, “Turkish worker Ibrahim

 5   Isik is an electrician. He observed that Taiwanese and Italian workers doing the same work as he

 6   were paid substantially more although they worked fewer hours weekly;” and Paragraphs 22, 24

 7   and 26 make similar allegations.

 8          However, alleging that Italian and Taiwanese workers did the “same work” is a

 9   conclusory allegation. During oral argument on IPI’s motion to dismiss the Original Complaint,

10   the Court explained why Plaintiffs’ allegations in their EEOC Chargesthat “one Taiwanese

11   worker showed [them] his paycheck,” and that is when Plaintiffs allegedly “learned that the
12   Taiwanese [workers] were being paid $23 an hour, nearly three times what IPI was paying
13   [them], for the same work” (e.g., id., ECF 20-1)were insufficient. The Court had the
14   following colloquy with opposing counsel regarding this allegation:
15              THE COURT: So we don’t know if this Taiwanese individual was
                also a foreman, or say someone, I don't know who would be above a
16              foreman, say -- I don't know, I think engineer? I have some
                knowledge about some differences in pay rates given the fact that
17              there’s the other Genc case that you brought before the Court and I’m
                sure Defendant IPI is very familiar with it. And there was that one
18              gentleman who was a standout in regards to his pay.
19              MR. MILLER: Yes, he was a supervisor. Mr. Öztuna.
20              THE COURT: And as a supervisor, is this Taiwanese a supervisor and
                that would be equal to Mr. Öztuna and that will be consistent, but not
21              as to these three foremen [the Plaintiffs].       There’s so many
                possibilities…
22
     (ECF 23 at 15:14-16:1.) Plaintiffs’ newly-added allegations that appear to relate to alleged
23
     comparators suffer from the same fundamental deficiency the Court previously explained to
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                                                     8
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 1   Plaintiffs regarding their “same work” allegation in their EEOC Charges. Paragraph 23, for

 2   instance, refers generally to “Taiwanese and Italian workers,” but Plaintiffs allege nothing about

 3   the role, title, seniority or performance of a single one of these workers. Therefore, the Court

 4   cannot reasonably infer that any of them was similarly situated to Mr. Isik. Like Plaintiffs’ other

 5   allegations in the Amended Complaint, these new allegations also fail as conclusory and

 6   speculative. See, e.g., Grigorescu v. Bd. of Trustees of the San Mateo Cnty. Cmty. Coll. Dist.,

 7   No. 18-cv-05932-EMC, 2019 WL 1790472, at *11 (N.D. Cal. Apr. 24, 2019) (granting motion to

 8   dismiss because plaintiff’s allegation that defendants promoted “a male who is not of Romanian

 9   descent and whose qualifications and experience were as good as Plaintiff's to fill the position”

10   was “too conclusory,” and plaintiff “alleged no facts that demonstrate that the candidate who

11   replaced her was in fact similarly situated—e.g., had similar qualifications and experience.”);

12   Frisby v. Town of Mammoth, No. CV-16-02599=PHX-ROS, 2018 WL 4207989, at *6 (D. Ariz.

13   Aug. 31, 2018) (granting motion to dismiss because conclusory allegations that “some unknown

14   employees [of a race different from plaintiffs], employed in unknown positions … reporting to

15   unknown supervisors” were not terminated, were insufficient); Smith v. W.W. Grainger, Inc., No.

16   EDCV 18-1405 JGB (SPx), 2019 WL 1670942, at *4 (C.D. Cal. Feb. 5, 2019) (plaintiff’s bare

17   assertion that younger white men with less experience and fewer qualifications received

18   promotions was insufficient without factual allegations that these younger white men were

19   similarly situated; “[f]or example, Plaintiff does not allege … the job positions these younger

20   white men held or sought, or any other information from which this Court [could] conclude that,

21   as alleged, they were similarly situated to Plaintiff.”).

22          Adding that a purported class member “observed” that the Taiwanese and Italian workers

23   performed the “same work” does not salvage Plaintiffs’ allegations. Adding the word

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                                                        9
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 1   “observed” to a conclusory allegation, does not convert it into a non-conclusory allegation. See,

 2   e.g., W.W. Grainger, Inc., 2019 WL 1670942, at *1, *4 n.1 (allegations that “Plaintiff

 3   ‘personally witnessed no less than 30 employees who were forced from their job in favor of

 4   younger/white employees because of their age and race,’” with no “comparative information,”

 5   could not support a complaint of racial discrimination); Bess v. Adams & Assocs., Inc., No.

 6   217CV00173TLNKJN, 2018 WL 4801951, at *5 (E.D. Cal. Oct. 3, 2018) (“[p]laintiff’s

 7   statement that he is ‘aware’ another employee was ‘similarly situated’” was insufficient on a

 8   motion to dismiss because it “is not a factual allegation, it is speculation and conclusion.”).

 9           Granting the defendant’s motion to dismiss, the Bess court explained that “[i]t is for the

10   Court to draw a conclusion or inference, from facts alleged by [p]laintiff, about whether another

11   employee was ‘similarly situated’ to [p]laintiff,” not for the plaintiff to tell the Court that is the

12   case. Bess, 2018 WL 4801951, at *5. Likewise, here, it is not sufficient for Plaintiffs to allege

13   that some workers “observed” or “saw” that Taiwanese and Italian workers performed the “same

14   work” as the Turkish workers. Plaintiffs’ conclusory new allegations fail to cure their “similarly

15   situated” problem.

16                   2.      The Old Allegations

17           Putting aside the new allegations, what remains in the Amended Complaint are

18   conclusory allegations from Plaintiffs’ Original Complaint (extended this time to Italian as well

19   as Taiwanese workers) that the Court has previously found insufficient to support Plaintiffs’

20   discrimination claim. And with good reason. Plaintiffs’ conclusory statements that “IPI

21   employed [the] Taiwanese and Italian workers to perform the same types of work that Plaintiffs

22   and members of the class performed,” and that, “[w]ith respect to the types of work they

23   performed, those Taiwanese and Italian workers had the same or similar level of skills,

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                                                        10
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 1   qualifications, and experience as Plaintiffs and members of the class” (Am. Compl. ¶¶ 17-18) are

 2   insufficient. Courts consistently reject similar conclusory allegations on motions to dismiss

 3   disparate treatment claims. See, e.g., Renati v. Wal-Mart Stores, Inc., No. 19-CV-02525-CRB,

 4   2019 WL 5536206, at *6 (N.D. Cal. Oct. 25, 2019) (dismissing Title VII pay discrimination case

 5   because plaintiff’s conclusory allegation that she was paid less than “similarly situated men” was

 6   “insufficient to state a claim for [pay discrimination] plausible on its face.”) (citing Iqbal, 556

 7   U.S. at 677-78); Barrett v. Kaiser Found. Health Plan of the Nw., No. 3:14-cv-020160-SI, 2015

 8   WL 1491037, at *3 (D. Or. Apr. 1, 2015) (allegation that a non-African American employee was

 9   “similarly situated” to Plaintiff was “no more than a legal conclusion”); see also supra 6, 9-10

10   (compiling similar cases). To the extent Plaintiffs rely on their EEOC Charges to fill any gaps in

11   their Amended Complaint, those allegations fail for the reasons the Court articulated during Oral

12   Argument, as discussed above. (Supra 8.)

13            B. Plaintiffs Allege No Other Factual Basis to Support Their Claim of Pattern-
              and-Practice Discrimination.
14
            Because Plaintiffs have not alleged a single instance of wage discrimination of Turkish
15
     workers that involves a plausible, well-pleaded comparator, Plaintiffs cannot support their
16
     pattern-and-practice discrimination claim through anecdotal instances of alleged discrimination.
17
     Nor do Plaintiffs allege any other facts in the Amended Complaint for the Court to infer that IPI
18
     had a policy of discriminating against its Turkish workers. Plaintiffs allege that IPI “never had a
19
     system for setting wage rates for construction workers based on objective criteria.” (Am. Compl.
20
     ¶ 31.) This is a conclusory assertion that cannot support a plausible inference that, as a result,
21
     IPI engaged in a pattern-and-practice of unlawful wage discrimination against employees of
22
     Turkish origin. To the contrary, the Court could also reasonably infer from that allegation that
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     there was no “company-wide” policy of discrimination against workers of Turkish origin.
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                                                       11
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 1   Additionally, Plaintiffs themselves acknowledge that there were instances in which IPI paid

 2   Italian and Taiwanese workers less than Turkish workers. (Id. ¶ 28 (acknowledging there were

 3   exceptions to Italians and Taiwanese workers getting paid more than Turkish workers).)8

 4                                           **************

 5          Plaintiffs fail to state a claim of an unlawful pattern-and-practice of discrimination

 6   against IPI. Thus, the Court should dismiss Plaintiffs’ individual claims. The Court should also

 7   dismiss Plaintiffs’ purported class action because it cannot stand without Plaintiffs’ underlying

 8   claims. See Young v. AmeriGas Propane, Inc., No. 14-cv-00583-BAS (RBB), 2014 WL

 9   5092878, at *5 (S.D. Cal. Oct. 9, 2014) (class action could not stand where the named plaintiff’s

10   case was dismissed).9

11

12
     8. Courts have held that pattern-and-practice complaints alleging a lot moree.g., instances of
13      discrimination against similarly situated comparators based on non-conclusory
        allegationsthan what is alleged here do not meet the plausibility requirement. See, e.g.,
14      Krish v. Conn. Ear, Nose & Throat, Sinus & Allergy Specialists, P.C., 607 F. Supp. 2d 324,
        332 (D. Conn. 2009) (three “confirmatory instances” of alleged discrimination insufficient on
15      a motion to dismiss an age-discrimination pattern-and-practice claim). Here, as discussed
        above, Plaintiffs allege no non-conclusory instances of wage discrimination against a
16      Plaintiff or purported class member because they do not plausibly allege a similarly situated
        comparator. In addition, many of Plaintiffs’ allegations of the purported wage differential
17      are also conclusory. (See, e.g., Am. Compl. ¶ 20 (Mr. Celebi “saw that other workers worked
        fewer hours but brought home more money”), ¶ 23 (Mr. Isik “observed that Taiwanese and
18      Italian workers doing the same work as he were paid substantially more”).) A similar
        allegation for Plaintiff Köş raises an additional concern. Although Paragraph 27 alleges that
19      Mr. Köş “became friends with some of the Taiwanese and Italian workers and saw the
        paychecks the Taiwanese received” and observed they were earning more than the Turkish
20      workers, that allegation appears to contradict Mr. Köş’ EEOC Charge that “because of the
        language barrier we generally didn’t talk with the Italians and Taiwanese or socialize with
21      them.” (ECF 20-5.) A court “need not accept as true conclusory allegations that are
        contradicted by documents referred to in the complaint.” Manzarek v. St. Paul Fire & Marine
22      Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008).

23   9. Plaintiffs frame their disparate treatment claim as a “pattern-and-practice” claim. (See
        Am. Compl. ¶¶ 1, 36(d)). Even if Plaintiffs had framed their claim as an individualized
24      disparate treatment claim, it could not survive a motion to dismiss. To plead an
                                                     12
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 1   II.      THE COURT SHOULD DISMISS PLAINTIFFS’ AMENDED COMPLAINT
              WITH PREJUDICE
 2
              Dismissal with prejudice is appropriate where, as here, the Court granted Plaintiffs leave
 3
     to amend, but they failed to correct the defects in their prior pleading. See Sheets, 859 Fed.
 4
     App’x at 163 (citing Loos v. Immersion Corp., 762 F.3d 880, 890-91 (9th Cir. 2014)) (affirming
 5
     dismissal with prejudice where plaintiff “did not provide more details between the FAC and SAC
 6
     regarding whether [Plaintiff] and [his alleged comparator] were ‘similarly situated’ other than
 7
     identifying his proposed white comparator by name and noting that [he] was also an officer,”
 8
     although in dismissing the FAC, the district court had “explained the applicable legal framework
 9
     for plausibly alleging a race-based disparate treatment claim under Title VII.”).
10
              Here, after providing Plaintiffs a detailed roadmap of what they need to allege to support
11
     their class-action claim of wage discrimination, the Court granted Plaintiffs 45 days to amend
12
     their 10-page Original Complaint. (See ECF 23 (Transcript of Hearing on IPI’s Original Motion
13
     to Dismiss).) Plaintiffs then requested, and IPI agreed to and the Court granted them, an
14
     extension of an additional 21 days to amend the Original Complaint. (See ECF 18 & 19.) After
15
     more than two months, Plaintiffs filed their 11-page Amended Complaint, which, despite the
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     Court’s express instructions, suffers from the same fundamental flaw as their Original
17
     Complaint: failure to plausibly allege Italian and Taiwanese comparators using non-conclusory
18

19
           individualized claim of Title VII disparate treatment, “a plaintiff must allege sufficient
20         facts to show that (1) he is a member of a protected class; (2) he was qualified for his
           position; (3) he experienced an adverse employment action; and (4) similarly situated
21         individuals outside his protected class were treated more favorably, or other circumstances
           surrounding the adverse employment action give rise to an inference of discrimination.”
22         Sheets, 859 F. App’x at 162 (quoting Peterson v. Hewlett-Packard Co., 358 F.3d 599, 603
           (9th Cir. 2004)). Regarding the fourth prong, as discussed above, the Amended Complaint
23         is devoid of non-conclusory factual allegations that the Taiwanese or Italian employees
           were similarly situated to any of the Plaintiffs. (Supra I.A.)
24
                                                      13
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 1   allegations. (See ECF 23 at 25:19-23 (Court reminding Plaintiffs that in their amended

 2   complaint, they must “rely[] on actual facts that are non-conclusory to support the pattern or

 3   practice of discrimination.”).) Nor is there anything in the Amended Complaint that indicates

 4   that Plaintiffs could amend their pleading to survive a motion to dismiss. Accordingly, dismissal

 5   with prejudice is warranted. See DeFrancesco v. Ariz. Bd. of Regents, No. CV-20-00011-TUC-

 6   CKJ, 2021 WL 4170673, *5 (D. Ariz. Sept. 14, 2021) (dismissing with prejudice first amended

 7   complaint because, “[d]espite the Court’s advice,” plaintiff only added allegations to his

 8   amended complaint that lack “sufficient factual content”).

 9                                              Conclusion

10          For the reasons set forth above, IPI respectfully requests that the Court dismiss Plaintiffs’

11   First Amended Complaint with prejudice.

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               Case 1:22-cv-00002 Document 24 Filed 08/09/22 Page 21 of 23




 1   Dated: August 10, 2022                 Respectfully Submitted,

 2
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                Case 1:22-cv-00002 Document 24 Filed 08/09/22 Page 22 of 23




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12                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN MARIANA ISLANDS
13

14     ÖZCAN GENÇ, HASAN GÖKÇE, and                      Civil Case No. 1:22-cv-00002
       SÜLEYMAN KÖŞ, on behalf of themselves
15     and all other persons similarly situated,
                                                         CERTIFICATE OF SERVICE
16                           Plaintiffs,

17                    vs.

18     IMPERIAL PACIFIC INTERNATIONAL
       (CNMI), LLC, and IMPERIAL PACIFIC
19     INTERNATIONAL HOLDINGS LTD.

20                           Defendants.

21          I hereby certify that, on August 10, 2022 (ChST), I electronically filed the foregoing with
22   the Clerk of Court for the United States District Court for the Northern Mariana Islands using the
23

24
                                                     1
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 1   CM/ECF system. A true and correct copy of this motion has been served via the Court’s

 2   CM/ECF system on all counsel of record.

 3                                                    /s/ Amina Hassan
                                                        Amina Hassan
 4

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